                   EXHIBIT 11




Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 1 of 16
Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 2 of 16
Acuron Yield Advantage

Find 5-15 More Bushels An Acre Than With Any
Other Herbicide




Classification: Public.
©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties. Please check with your local extension service to ensure
registration status. Acuron is a Restricted Use Pesticide. Acuron®, the Alliance Frame, the Purpose Icon and the Syngenta logo are trademarks of a Syngenta Group Company.
Acuron yield advantage range based on 2016 Syngenta and university trials comparing Acuron to Corvus, Resicore, SureStart II and Verdict applied preemergence at full label rates. For more information on Acuron versus
an individual product, ask your Syngenta representative.                                                                                                                                  SLC 12570A 03-2020
                                             Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 3 of 16
                                                                         Acuron Outyields Competitors
                                      ®
           Acuron corn herbicide compared to competitive herbicides – head to head in replicated trials
                                                         18                                                                                                                          17.5
                                                                                                                                            16.5
                         Bu/A Increase vs. Competitors   16

                                                         14

                                                         12
                                                                                                    10.4
                                                         10

                                                          8

                                                          6           5.6
                                                          4

                                                          2

                                                          0
                                                                                ®
                                                                Outyielded Resicore                                   ®
                                                                                         Outyielded Corvus by Outyielded Verdict by Outyielded SureStart       ®                            ® II
                                                                   by 5.6 Bu/A*                10.4 Bu/A*           16.5 Bu/A*           by 17.5 Bu/A*
Classification: Public. *Yield range based on 2016 Syngenta and university replicated trials comparing Acuron to Corvus, Resicore, SureStart II and Verdict applied preemergence at
full label rates. Performance assessments are based on results or analysis of public information, field observations and/or internal Syngenta evaluations. Trials reflect treatment rates
commonly recommended in the marketplace. ©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all
states or counties. Please check with your local extension service to ensure registration status. Acuron is a Restricted Use Pesticide. Acuron® and the Syngenta logo are
trademarks of a Syngenta Group Company. Corvus® is a trademark of Bayer. Resicore® and SureStart® are trademarks of Dow AgroSciences, LLC. Verdict® is a trademark of BASF
Corporation.                                                  Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 4 of 16
                                               Residual Weed Control Translates to Yield
                     Acuron herbicide compared to Resicore herbicide – head to head in 18 replicated trials




                                                                                                                                                                              Data Source: 18 Syngenta/University Trials (2016)
                                                                                                                                                                              Data Source: 18 Syngenta/University Trials (2016)
                                                                                                                                                                              1X rate applied per label use rate
                                                                                                                                                                              1X rate applied per label use rate
                                                                                                                                                                              Resicore = Resicore alone and Resicore + AAtrex ®
                                                                                                                                                                              Resicore = Resicore alone and Resicore + atrazine




                                                                      Acuron® herbicide                                     Resicore® herbicide
                                                                      1X PRE                                                1X PRE


Classification: Public. Performance assessments are based on results or analysis of public information, field observations and/or internal Syngenta evaluations. Trials reflect
treatment rates commonly recommended in the marketplace.

©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties. Please check with
your local extension service to ensure registration status. Acuron is a Restricted Use Pesticide. Acuron® and the Syngenta logo are trademarks of a Syngenta Group
                                             Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 5 of 16
Company. Resicore® is a trademark of Dow AgroSciences, LLC.
                                               Residual Weed Control Translates to Yield
                       Acuron herbicide compared to Corvus herbicide – head to head in 18 replicated trials




                                                                                                                                                                                  Data Source: 18 Syngenta/University Trials (2016)
                                                                                                                                                                                  Data Source: 18 Syngenta/University Trials (2016)
                                                                                                                                                                                  1X rate applied per label use rate
                                                                                                                                                                                  1X rate applied per label use rate
                                                                                                                                                                                  Corvus = Corvus alone and Corvus + AAtrex
                                                                                                                                                                                  Corvus = Corvus alone and Corvus + atrazine




                                                                      Acuron® herbicide                                    Corvus® herbicide
                                                                      1X PRE                                               1X PRE

Classification: Public. Performance assessments are based on results or analysis of public information, field observations and/or internal Syngenta evaluations. Trials reflect
treatment rates commonly recommended in the marketplace.

©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties. Please check with
your local extension service to ensure registration status. Acuron is a Restricted Use Pesticide. Acuron® and the Syngenta logo are trademarks of a Syngenta Group
Company. Corvus® is a trademark of Bayer.    Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 6 of 16
                                               Residual Weed Control Translates to Yield
                       Acuron herbicide compared to Verdict herbicide – head to head in 15 replicated trials




                                                                                                                                                                              Data Source: 15 Syngenta/University Trials (2016)
                                                                                                                                                                              1X rate applied per label use rate




                                                                      Acuron® herbicide                                     Verdict® herbicide
                                                                      1X PRE                                                1X PRE

Classification: Public. Performance assessments are based on results or analysis of public information, field observations and/or internal Syngenta evaluations. Trials reflect
treatment rates commonly recommended in the marketplace.

©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties. Please check with
your local extension service to ensure registration status. Acuron is a Restricted Use Pesticide. Acuron® and the Syngenta logo are trademarks of a Syngenta Group
                                             Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 7 of 16
Company. Verdict® is a trademark of BASF Corporation.
                                               Residual Weed Control Translates to Yield
                  Acuron herbicide compared to SureStart II herbicide – head to head in 14 replicated trials




                                                                                                                                                                                  Data Source: 14 Syngenta/University Trials (2016)
                                                                                                                                                                                  1X rate applied per label use rate




                                                                      Acuron® herbicide                                    SureStart® II
                                                                      1X PRE                                               herbicide 1X PRE
Classification: Public. Performance assessments are based on results or analysis of public information, field observations and/or internal Syngenta evaluations. Trials reflect
treatment rates commonly recommended in the marketplace.

©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties. Please check with
your local extension service to ensure registration status. Acuron is a Restricted Use Pesticide. Acuron® and the Syngenta logo are trademarks of a Syngenta Group
                                             Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 8 of 16
Company. SureStart® is a trademark of Dow AgroSciences, LLC.
                                             How Does Acuron Outyield Other Herbicides?
           Answer: Acuron® herbicide protects corn from tough, yield-robbing weeds with its powerful
         combination of weed control, long-lasting residual and proven crop safety. When weeds are not
           competing for sunlight and stealing nutrients like nitrogen and water, corn can reach its full
                                                  yield potential.




 Powerful Weed Control                                                                         Longest-lasting                                                             Proven Crop Safety
                                                                                                  Residual
    Acuron contains four active ingredients,                                                                                                                          Acuron has been proven to provide excellent
              including the unique                                                                                                                                    pre and post-emergence crop safety across
  component bicyclopyrone, which enable it                                        Acuron delivers unmatched burndown and                                              a wide range of soil types, weather conditions
  to protect corn from tough, yield-robbing                                       residual control of more than 70 tough grass                                        and plant genetics. Its crop safety enables
weeds better and more consistently than any                                       and broadleaf weeds until crop canopy and                                           application flexibility from 28 days preplant up
other herbicide. And better weed control equals                                   beyond. This season-long weed control helps                                         to 12-inch corn.
             higher yield potential.                                              fully protect yield potential and minimize the
                                                                                  weed seed bank for next year's crop.




  Classification: Public.
  ©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties. Please check with
  your local extension service to ensure registration status. Acuron is a Restricted Use Pesticide. Acuron® and the Syngenta logo are trademarks of a Syngenta Group
  Company.
                                           Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 9 of 16
                                           How Does Acuron Outyield Other Herbicides?
                   Answer: Acuron® herbicide prevents early-season weeds from competing with corn for
                                                       sunlight.
                                                                                                                                                                         **




Classification: Public.
©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties. Please check with
your local extension service to ensure registration status. Acuron is a Restricted Use Pesticide. Acuron® and the Syngenta logo are trademarks of a Syngenta Group
Company.
                                        Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 10 of 16
                                           How Does Acuron Outyield Other Herbicides?
                   Answer: Acuron® herbicide prevents early-season weeds from competing with corn for
                                                       sunlight.




                Agronomic Service Representative Brett Craigmyle explains how competition from early-season
                weeds changes the architecture of corn plants and negatively impacts yield potential.

Classification: Public.
©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties. Please check with
your local extension service to ensure registration status. Acuron and Lexar EZ are Restricted Use Pesticides. Acuron®, Lexar®, Trivapro® and the Syngenta logo are
trademarks of a Syngenta Group Company.
                                        Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 11 of 16
                                               How Does Acuron Outyield Other Herbicides?
           Answer: Acuron® herbicide prevents weeds from stealing valuable nutrients like nitrogen and
                                                  water.
   •        A 2006 Syngenta study found that 1” to 2” weeds contained over 9 lbs. of nitrogen per acre.***
   •        The 3:3:1 rule: In 3 days, 3” weeds can remove 1” of water from the soil.***




                                                                                             Photos taken Aug. 13, 2019, in Slater, IA.


Classification: Public. All photos are either the property of Syngenta or are used with permission. Performance assessments are based on results or analysis of public information,
field observations and/or internal Syngenta evaluations. Trials reflect treatment rates commonly recommended in the marketplace.
©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties. Please check with
your local extension service to ensure registration status. Acuron is a Restricted Use Pesticide. Acuron® and the Syngenta logo are trademarks of a Syngenta Group
                                           Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 12 of 16
Company. Corvus® is a trademark of Bayer. Resicore® is a trademark of Dow AgroSciences, LLC. Verdict® is a trademark of BASF Corporation.
                                               How Does Acuron Outyield Other Herbicides?
           Answer: Acuron® herbicide provides excellent crop safety across a wide range of soil types,
                                   weather conditions and plant genetics.




                                     Acuron® 3 qt/A                                                                                Harness® 2.26 pt/A + Callisto® 5.94 fl oz/A

  Photos taken June 1, 2017; Dekalb, IL.


Classification: Public. All photos are either the property of Syngenta or are used with permission. Performance assessments are based on results or analysis of public information,
field observations and/or internal Syngenta evaluations. Trials reflect treatment rates commonly recommended in the marketplace.
©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties. Please check with
your local extension service to ensure registration status. Acuron is a Restricted Use Pesticide. Acuron®, Callisto® and the Syngenta logo are trademarks of a Syngenta Group
Company. Harness® is a trademark of Bayer. Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 13 of 16
                                               How Does Acuron Outyield Other Herbicides?
           Answer: Acuron® herbicide provides excellent crop safety across a wide range of soil types,
                                   weather conditions and plant genetics.




   POST: Acuron® 1.75 qt/A + Roundup PowerMAX® 27 fl oz/A + AMS                                                                              POST: Resicore® 1.75 qt/A + Roundup PowerMAX 27 fl oz/A +
                                                                                                                                             AMS
  Photos taken July 7, 2019; Brooklyn, WI.


Classification: Public. All photos are either the property of Syngenta or are used with permission. Performance assessments are based on results or analysis of public information,
field observations and/or internal Syngenta evaluations. Trials reflect treatment rates commonly recommended in the marketplace.
©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties. Please check with
your local extension service to ensure registration status. Acuron is a Restricted Use Pesticide. Acuron® and the Syngenta logo are trademarks of a Syngenta Group
                                           Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 14 of 16
Company. Resicore® is a trademark of Dow AgroSciences, LLC. Roundup PowerMAX® is a trademark of Bayer.
                                                 Are You Ready To Find More Bushels?




Classification: Public.
©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties. Please check with
your local extension service to ensure registration status. Acuron is a Restricted Use Pesticide. Acuron® and the Syngenta logo are trademarks of a Syngenta Group
Company.
                                        Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 15 of 16
Classification: Public

All photos are either the property of Syngenta or are used with permission.

Performance assessments are based on results or analysis of public information, field observations and/or internal Syngenta evaluations. Trials reflect treatment
rates commonly recommended in the marketplace.

The calculator is provided for convenience only. Use of this calculator is expressly subject to and conditional upon the full terms and conditions of use. Syngenta
has developed this calculator using formulas that should result in a reasonable approximation of the estimated potential revenue increase if based on the average
yields described in the table. The calculator is being distributed to you for information purposes only and for your private use in preparing your own calculations.
While reasonable efforts have been made to ensure the accuracy and reliability of the information and formulas, no guarantee is given or responsibility taken by
Syngenta for the accuracy of the calculator or the applicability to your particular circumstances. Always read and follow the individual product labels for correct use
rates. SYNGENTA PROVIDES THIS CALCULATOR AND ANY RESULT THEREFROM AS-IS, WHERE-IS, WITH ALL FAULTS AND WITH NO WARRANTY
WHATSOEVER, EITHER EXPRESS OR IMPLIED, INCLUDING ANY WARRANTIES OF MERCHANTABILITY AND FITNESS FOR PARTICULAR PURPOSE.
YOU ASSUME ANY AND ALL RISKS IN USING THE CALCULATOR AND RELYING ON THE INFORMATION CONTAINED HEREIN. IN NO CIRCUMSTANCES
SHALL SYNGENTA BE LIABLE FOR ANY DAMAGES WHATSOEVER, INCLUDING BUT NOT LIMITED TO LOSS OF PROFIT, LOSS OF BUSINESS, LOSS OF
SAVINGS OR CONSEQUENTIAL DAMAGES, EVEN IF SYNGENTA HAS BEEN NOTIFIED AS SUCH.

©2020 Syngenta. Important: Always read and follow label instructions. Some products may not be registered for sale or use in all states or counties.
Please check with your local extension service to ensure registration status. Acuron and Lexar EZ are Restricted Use Pesticides. Acuron®, Callisto®,
Lexar®, Trivapro® the Alliance Frame, the Purpose Icon and the Syngenta logo are trademarks of a Syngenta Group Company. Corvus®, Harness® and Roundup
PowerMAX® are trademarks of Bayer. Resicore® and SureStart® are trademarks of Dow AgroSciences, LLC. Verdict® is a trademark of BASF Corporation.

*Acuron yield advantage range based on 2016 Syngenta and university replicated trials comparing Acuron to Corvus, Resicore, SureStart II and Verdict applied
preemergence at full label rates. For more information on Acuron versus an individual product, ask your Syngenta representative.

**Based on shade avoidance research published in 2010 by Dr. Clarence Swanton, University of Guelph, Ontario, Canada.

***2006 Syngenta trial: York, NE.

                                                                                                                            SLC 12570A 03-2020



                     Case 1:22-cv-00828-TDS-JEP Document 232-11 Filed 07/19/24 Page 16 of 16
